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                         EXHIBIT A
         Case 4:20-cv-02967            Document
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                                                 Number:   on 07/08/20 in TXSD    Page
                                                                           Divisioli: 02- 2 of 15
Filing # 108586087 E-Filed 06/09/2020 12:24:13 PNl


                  1N THE CIRCUIT COURT OF THE SEVENTEENTh1 JUDICIAL CIRCUIT
                             IN AND FOR BROWARD COUNTY, FLORIDA

         CONSTANCE JOY II, LLC, a Delaware                     Case No.
         limited liability company,

                  Plaintiff,

         V.

         MTU FRIEDRICHSHAFEN GmbH, a foreign
         corporation, and STEWART & STEVENSON                       Date:                    Time:      f b&12
                                                                                         MCN #111
         FDDA LLC, a Delaware limited liability company                      is a cer'tified process server in the
         d/b/a FLORIDA DETROIT DIESEL-ALLISON,                            Circuit anEi Criunty Cdurts In and for the
                                                                                  Sicorid Judl.clal CIrcult
                  Defendants.




                                            CIVIL ACTION SUMMONS

         THE STATE OF FLORIDA:

         To Each Sheriff of the State:

               YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this
         lawsuit, on Defendant, Stewart & e31:Pnsnn DDA LLC, a Delaware limited liability
                              ' uite .1.000, Ilouston, Texas 77007 at the following address:
         company, 55 Waugh Dr~ve,

                                    BY SERVING ITS REGISTERED AGEIr1T:

                                           Corporation Service Company
                                                 1201 Hays Street
                                          Tallahassee, Florida 32301-2525

                A lawsuit has been fxled against you. You have 20 calendar days after this summons is
         served on you to file a written response to the attached Complaint with the clerk of this court. A
         phone call will not protect you; your written response, including the case number given above and
         the names of the parties, must be filed if you want the Court to hear your side of the case. If you
         do not file your response on time, you may lose the case, and your wages, money and property
         may thereaffter be taken without further warning from the Court. There are other legal
         requirements. You may want to call an attorney right away. If you do not know an attorney, you
         may call an attorney referral service or legal aid office (listed in the phone book).




              **'" FILED: BR0I~VARD COUNTl', FL BRENDA D. FORiv1AN, CLERK 06,0912020 12:24: l 1 PM.***'"
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If you chose to file a written response yourself, at the same time you file your written response to
the Court, located at:


                                   Broward County Courthouse
                                        Clerk of the Conrt
                                        201 S.E. 6`h Street
                                  Fort Lauderdale, Florida 33301

You must also mail or take a copy of your written responses to the "Plaintiff's Attorney" named

below.

         WITNESS my hand and the seal of this Court on this _JUN 09 2020



                                              BRENDA D. FORMAhI

                                              As Clerk of the Court




                                                     As Deputy Clerk


Glenn J. Waldman, Esq.                                                BREfVDA D.
Counsel for the Plaintiff
GUNSTER, YOAKLEY & STEWART, P.A.
450 East Las Olas Boulevard, Suite 1400
Fort Lauderdale, Florida 33301
Telephone: (954) 462-2000
szwaldman.@t-
            .t-,unster.com
                uiister.com

Mark H. Hildebrandt, Esq.
MARK H. HTLDEBI2.ANDT, P.A.
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Filing # 108586087 E-Filed 06/09/2020 12:24:13 PM


               IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                          IN AND FOR BROWARD COUNTY, FLORIDA

        CONSTANCE JOY II, LLC, a Delaware                       Case No.
        limited liability company,

               Plaintiff,

        V.

        MTU AMERICA INC., a Michigan corporation and
        STEWART & STEVENSON FDDA LLC,
        a Delaware limited liability conipany d/b/a
        FLORIDA DETROIT DIESEL-ALLISON,

               Defendants.
                                                            /

                                                  COMPLAINT

               Plaintiff, CONSTANCE JOY II, LLC, a Delaware limited liability company ("Constance

        Joy II") hereby files its Complaint against Defendants MTU AMERICA INC., a Michigan

        corporation ("MTU") and STEWART & STEVENSON FDDA LLC, a Delaware limited liability

        company d/b/a FLORIDA DETROIT DIESEL-ALLISON ("FDDA") and in support thereof states

        as follows:

                                         Parties Venue and Jurisdiction

                1.     This is an action seeking damages for negligence. Damages are in excess of

        $30,000.00, exclusive of interest, court costs and attorneys' fees.

                2.     Plaintiff, CONSTANCE JOY II, LLC is a Delaware limited liability company that

        does business in Broward County, Florida and is authorized to bring this action in all respects.

        Constance Joy II is the owner of Constance Joy II Limited, a Marshall Islands corporation, which

         in turn is the owner of the "Constance Joy II" (the "Vessel") -- a 125-foot custom motor yacht
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delivered in 2017 by Azimut-Benetti S.p.a Benetti Yachts1 ("Benetti") with hull identification No.

XAX12502F718 and Official Number JMP17059.

       3.      Defendant, MTU AMERICA INC., a Michigan corporation is responsible for the

manufacture, sales and/or service of products made by and sold by MTU Freidrichshafen GmbH,

a business entity organized under the laws of Germany ("MTU Germany"). MTU Germany is in

the business of design, manufacture, outfitting, repair, servicing and selling various types of marine

engine systems, including the ones installed on the Vessel. MTU Germany designs and

manufactures marine engines with the intent that they be used worldwide, including in Broward

County, Florida. MTU Germany manufactured the Vessel's two engines, and MTU was

responsible for the Vessel's engines service. At all times MTU was doing business in and acting

through its agents, including but not limited to FDDA, in Broward County, Florida.

        4.     Defendant, STEWART & STEVENSON FDDA LLC is a Delaware limited

liability company doing business as FLORIDA DETROIT DIESEL-ALLISON. FDDA is ari

engine parts and services company doing business in and maintaining offices in Broward County,

Florida. FDDA is an authorized agent for MTU.

        5.      Venue is appropriate in Broward County, Florida pursuant to §47.011, as

significant and material occurrences giving rise to the causes of actions alleged herein occurred or

transpired in Broward County, Florida.

        6.      All conditions precedent to the institution and maintenance of this . action herein

have been performed, occurred, waived or otherwise have been excused.




1 Owned by Azimut — Benetti S.p.A.

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       7.      Constance Joy II has retained the law firms of Mark Hildebrandt, P.A. and Gunster,

Yoakley & Stewart, P.A. to represent them in this cause and have agreed to become obligated to

pay them a reasonable fee for their services.


                                       General Allegations

       8.      Benetti delivered the Vessel in June 2017. The Vessel, which was purchased for

approximately $15,656,775.15 is "Sunfast Red" with a white pearl deck and superstructure.

       9.      MTU Germany issued a manufacturer's warranty for the Vessel's engines ("MTU

Warranty"). Under the MTU Warranty, MTU Germany or its agents, including but not limited to

MTU and its agents, would address warranty claims from Constance Joy II related to the Vessel's

engines.

        10.    Sea water is used to cool the engine coolant which in turn cools the Vessel's

engines. Each of the Vessel's engines has a hose that brings the sea water to the Vessel. The

Vessel also contains a series of Heat Exchanger Plates ("H/E Plates") within which the sea water

cools, the engine coolant. To access the Vessel's H/B plates, a trained certified MTU technician

must remove the hoses.

        11.    On or about -April 2018, the Vessel suffered issues with its engines whereby the

normal operating engine temperature would-spike causing the engines to automatically shut down.

To diagnose and remedy the problem, FDDA in May 2018 removed and cleaned both sets of the

Vessel's H/E Plates because it was suspected that a clog or some other debris in the H/B Plates

might be preventing sea water from cooling the engine coolant. However, as set forth in its

correspondence dated June 22, 2018, FDDA found no issue with the H/E Plates:

               H/B Plates were removed from both engines and it was observed the raw
               water side of the heat exchanges were found to be dry with no evidence of
               raw water. Both sets were removed from vessel and the plates were cleaned

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                 and inspected. . No evidence was found to cause a spike overheat that would
                 result in a shut down. Some foreign material was present and it was
                 minimal.

Exhibit "A", herein.

       12.       After removing and cleaning the H/E Plates, FDDA re-installed them and advised

Constance Joy II that further testing must be completed during a sea-trial. At this time, when the

H/E Plates were re-installed FDDA failed to properly fasten the hose clamps on the starboard side

of the Vessel.

       13.       The Vessel was scheduled for a sea trial in August 2018, and subsequently,

Constance Joy II planned to have the Vessel used by Burgess Yacht Services for its charter

program.

       14.       While docked at the Boathouse Marina, in Fort Lauderdale, Florida, in August

2018, before the sea trial, the Vessel remained inoperable because several alarms originated from

the Vessel's engines. An FDDA technician who had been on board the Vessel on August 21, 2018

could not determine the cause of the alarms or why the Vessel remained inoperable.

       15.       On August 22, 2018, FDDA, on behalf of MTU, made arrangements to send one of

their senior electronic technicians to "troubleshoot the alarms and no start issue as well as assist

Rolls Royce with any MTU electronic inquiries." See Exhibit "B".




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       16.     FDDA, as an agent of MTU, in May 2018 did not re-secure the hoses that draw sea

water to cool the engine coolant that, in turn, cools the Vessel's engines. Specifically, the clasps

on the top section of the house (as set forth in paragraph 15) were not properly fastened.

       17.     To ensure that the warranty repairs were done properly and the engines in good

working order, the Vessel was taken on a sea trial on August 24, 2018. During the sea trial, as the

yacht increased speed, the revolutions per minute ("RPMs") of the Vessel's engines increased to

1,700. As a result of the increase in RPM's and due to FDDA not properly securing and fastening

the hoses in May 2018 that draw sea water to cool the coolant which cools the Vessel's engines,

the hoses became loose at this connection spraying seawater infiltrating the engine room.

Specifically, the hose clamps had not been properly tightened around the upper elbow clamps on

pipework illustrated in Paragraph 15. In fact, the Vessel's Engineer, to curtail further damage

made approximately seven complete turns on both the starboard and port side clamps.

       18.     As a result of the sea water infiltration in the engine room, the Vessel's entire

electrical system was significantly.. damaged. Seawater infiltrated the main electrical panel,

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rendering the entire electrical system on the yacht inoperable as well as infiltrating or adversely

affecting the atlas convertor and both generators.

       19.     The Vessel was immediately inoperable and had to be towed- to the Boathouse

Marina. While back at the marina, fans were immediately used to remove extra moisture in the

engine room, but the contamination from the seawater was too extensive.

       20.     Even though all repairs were expected to be completed in six weeks, it took more

than one (1) year to repair the damage to the Vessel, including but not limited to repairs to the

Vessel's electric system.

       21.     On August 28, 2018, an employee from FDDA inspected the Vessel. During such

inspection, the employee stated to the Vessel's Engineer, "it was disappointing that [FDDA] did

not check the hose clamps".

                                    COUNT I — NEGLIGENCE
                                            FDDA

       22.     Plaintiff re-alleges and re-incorporates the allegations in paragraphs 1 through 21

above, as fully set forth herein.

       23.     FDDA had a non-delegable duty to Constance Joy II to maintain the Vessel in a

reasonably safe condition. FDDA also had a duty to warn Constance Joy II of any dangerous and

unsafe conditions of which FDDA knew or should have known as well as a duty to train and

supervise its employees in maintenance procedures, including but not limited to securing and

fastening all hoses.

       24. . FDDA breached its duty to Constance Joy II by carelessly and negligently:

               a.       Failing to secure and fasten hoses that draw sea water to cool the Vessel's

                        engines coolant which, in turn, cools the engines; and/or




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               b.      Failing to have policies and procedures in place so that prompt and adequate

                       actions could be taken anytime hoses are removed to prevent the hoses from

                       becoming loose after such removal;. and/or

               C.      Failing to supervise its employees in implementing its policies and

                       procedures; and/or

               d.      Failing to follow its own policies and procedures.

       25.     FDDA created the negligent conditions referenced above.

       26.     As a result of FDDA's breach of its duties as set forth in paragraph 24 above,

Constance Joy II, as owner of Constance Joy Limited, a Marshall Islands company, owner of the

Vessel, was injured.

       27.     That as a direct and proximate result of the negligence of FDDA described in the

preceding paragraphs, Constance Joy II suffered damages, which include but are not limited to:

loss of use of the Vessel (while having to incur costs of operation); depreciation of the Vessel; loss

of the Vessel's charter revenue, loss of warranty period value, costs of repair of the Vessel's

electrical system and incidental repair costs; dockage and harbor fees, crew expenses, insurance,

added costs due to lack of electricity on the Vessel and incurred while the Vessel was under repair;

towing the Vessel; offshore power for the Vessel; claims of voiding of the warranties for the

Vessel's engines and electrical system; and all other expenses incurred during this extended

inoperable period of time.

       WHEREFORE, CONSTANCE JOY II, LLC, a Delaware limited liability company,

demands judgment against STEWART & STEVENSON FDDA LLC, a Delaware limited liability

company d/b/a FLORIDA DETROIT DIESEL-ALLISON for all of its damages, costs, interest

and any further relief this Court deems just, equ'itable and proper.



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                           COUNT II — VICARIOUS LIABILITY--MTU

         28.      Plaintiff re-alleges and re-incorporates the allegations in paragraphs 1 through 21

above, as fully set forth herein.

         29.      MTU had a non-delegable duty to Constance Joy II to monitor and supervise

FDDA, in its handling of the maintenance and warranty duties on the Vessel. , MTU also had a

duty to warn the Constance Joy II of any dangerous and unsafe condition of which its agent,

FDDA, knew or should have known, and a duty to ensure FDDA, its agent, trained and supervised

its employees in maintenance procedures, including but not limited to securing and fastening all

hoses.

         30.      MTU, through its agent, FDDA, for which MTU is.vicariously liable, breached its,

duty to Constance Joy II by carelessly and negligently:

               a. Failing to ensure that FDDA provide and train its employees; and/or

               b. Failing to ensure that FDDA secure and fasten hoses that draw sea water to cool

                  the engine coolant which, in turn, cools the Vessel's engines; and/or

               c. Failing to ensure that FDDA has policies and procedures in place so that prompt

                  and adequate actions could be taken anytime hoses are removed to prevent the hoses

                  from becoming loose after such removal; and/or

               d. Failing to ensure that FDDA supervise its employees in implementing MTU's and

                  FDDA's policies and procedures; and/or

               e. Failing to follow its own policies and procedures.

         31.      MTU, through its agent, FDDA, for which it is vicariously liable created the

negligent conditions referenced above.




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       32.      As a result of MTU's breach of its duties, through its agent, FDDA, for which it is

vicariously liable, as set forth in paragraph 30 above, Constance Joy II, as owner of Constance Joy

II Limited, a Marshall Islands company, as owner of the Vessel, was damaged.

       33.      That as a direct and proximate result of the negligence of MTU, directly or through

its agents, described in the preceding paragraphs, Constance Joy II suffered damages, which

include but are not limited to: loss of use of the Vessel (while having to incur costs of operation);

depreciation of the Vessel; loss of the Vessel's charter revenue, loss of warranty period value,

costs of repair of the Vessel's electrical system and incidental repair costs; dockage and harbor

fees, crew expenses, insurance; added costs due to lack of electricity on the Vessel and incurred

while the Vessel was under repair; towing the Vessel; offshore power for-the Vessel; claims of

voiding of the warranties for the Vessel's engines and electrical system; and all other expenses

incurred during this extended inoperable period of time.

       WHEREFORE, CONSTANCE JOY II,. LLC, a Delaware limited liability company,

demands judgment against, MTU AMERICA, INC. a foreign corporation for all of its damages,

costs, interest and any further relief this Court deems just, equitable and proper.

                                 DEMAND FOR JURY TRIAL

        Constarice Joy II, LLC hereby demands a trial by jury for all matters that may be tried

before ajury.

Dated this 9t ' day of June, 2020.

                                                GUNSTER, YOAKLEY & STEWART, P.A.
                                                450 East Las Olas Boulevard, Suite 1400
                                                Fort Lauderdale, Florida 33301
                                                Telephone: (954) 462-2000

                                                By:   /s Glenn J. Waldman, Esq.
                                                       Glenn J. Waldman, Esq.
                                            l          Florida Bar No. 374113

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                                           Email: gwaldman~gunster.com
                                           Eric C. Edison, Esq.
                                           Florida Bar No. 010379
                                           Email: eedison cr gunster.com

                                    and

                                    MARK H. HILDEBRANDT, P.A.
                                    1135 Kane Concourse
                                    Bay Harbor Islands, Florida 33154-2025
                                    Telephone: 3 05-534-5100

                                    By: /s/ Mark H. Hildebrandt, P.A.
                                            Mark H. Hildebrandt, Esq.
                                            Florida Bar No. 369063
                                            Email: mark(khildebrandtlaw.com
                                            Jessica L. Hildebrandt, Esq.
                                            Florida Bar No. 1002466
                                            Email: iessican,liildebrandtlaw.com




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Frorri: Antonio Diaz <A.Diaz@,ssss.com>
Subject: RE; [External] Re: BF102 IVUY GONSTANCE J.OY I IlIITU URGENT ASSISTANCE
Date: August 22, 201:8 at 4:38;46- PM EDT
To: Giorgia Zanoni <gzabenettiamericas.com>
Cc: BENETTI ASIA LTD I Alberto GIANN.ERINI <a.gianneriniftbenettiyachts.asia>, Bob Fritsky
<bob.frifskyCa)marinemax.com>, Anthony Nicholls <captain _~consfancejoy.com>, "Benovich Gary,
EOV1fM .MTU America Inc." <Ga[y,.BenovichCa~,mtu-online:com>, Alberto Magnani
<Alberto.magnanig-mtu-online:cam>, "Martino.tartarini@mtu-online.com" <Martino. tartari n M_ mtu-
online.corn>

Hello Giorg'► a,
I'm well aware of the situation on the Constance Joy.
We have made arrangements to send one of our Senior Electronic technicians tomorrow (Thursday) onboard
the vessel.
He will troubleshoot the alarms and no start issue as well as ass'► st Rolls Royce with any MTU electronic
inquires.

Kind regards,
Tony Diaz
Service Writer
Florida Detroit Diesel -Allison J MTU
4141 SW 30th Avenue
Ft. Lauderdale, FI. .33125 .
954 327-449:0
954327-4538 fax




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